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                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA


  THE UNITED STATES OF AMERICA, and

  THE STATES OF CALIFORNIA, COLORADO,
  CONNECTICUT, DELAWARE, FLORIDA,                                 CASE NO. 3:17-cv-10
  GEORGIA, HAWAII, ILLINOIS, INDIANA, IOWA,
  LOUISIANA, MARYLAND, MASSACHUSETTS,
  MICHIGAN, MINNESOTA, MONTANA,
  NEVADA, NEW HAMPSHIRE, NEW JERSEY,
  NEW MEXICO, NEW YORK, NORTH
  CAROLINA, OKLAHOMA, RHODE ISLAND,
  TENNESSEE, TEXAS, VERMONT, VIRGINIA,
  AND WASHINGTON; THE DISTRICT OF
  COLUMBIA; THE COUNTY OF ALLEGHENY;
  AND THE CITIES OF CHICAGO, NEW YORK,
  AND PHILADELPHIA,

  ex rel. JOEL STEVENS

                            Plaintiffs,

  v.

  ATRICURE INC., ST. HELENA HOSPITAL, AND
  ADVENTIST HEALTH;

                            Defendants.



                             ATRICURE’S MOTION TO STAY
       Pursuant to Federal Rule of Civil Procedure 6(b), AtriCure Inc. (“AtriCure”) respectfully

moves this Court for a stay and extension of time to file a response to the Third Amended

Complaint. The Memorandum in Support of this Motion is filed contemporaneously herewith.

Counsel for AtriCure have conferred in good faith with counsel for Relator Joel Stevens and

Defendants Adventist Health and St. Helena Hospital before filing this Motion, pursuant to Local

Civil Rule 7.1(b). While all Defendants support this motion, Relator does not.



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       Respectfully submitted this 3rd day of September, 2021.

                                                   s/ Brian S. Cromwell_____________________
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                                                   N.C. State Bar No. 49212
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                                CERTIFICATE OF SERVICE
       The undersigned hereby certifies that a copy of the foregoing ATRICURE’S MOTION

TO STAY was electronically filed with the Clerk of the Court using the CM/ECF system and

served upon counsel of record through the Court’s electronic case filing system.



       This 3rd day of September, 2021.

                                                    s/ Brian S. Cromwell_____________________
                                                    Brian S. Cromwell
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                                                    Eric A. Frick
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